            CaseApplication
   AO 106A (08/18) 5:20-mj-00206-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    04/02/20
                                                                                    Means          Page 1 of 25 Page ID #:1

                                           UNITED STATES DISTRICT COURT
                                                                          for the
                                                              Central District
                                                           __________  Districtofof
                                                                                  California
                                                                                    __________

                     In the Matter of the Search of                          )
             (Briefly describe the property to be searched or identify the   )
                             person by name and address)                     )      Case No.      5:20-MJ-00206
                                                                             )
                                                                             )
         Four digital devices seized on April 1, 2020 and                    )
         currently maintained in the custody of the United                   )
            States Border Patrol in Murrieta California                      )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                       evidence of a crime;
                       contraband, fruits of crime, or other items illegally possessed;
                       property designed for use, intended for use, or used in committing a crime;
                       a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
              Code Section                                                             Offense Description
          21 U.S.C. §§ 841(a)(1); 846; 843(b), and 18                        See attached affidavit
          U.S.C. § 758

             The application is based on these facts: See attached Affidavit

                       Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                    Applicant’s signature

                                                                                          Ubaldo Perez – U.S. Border Patrol Agent
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                    Judge’s signature

City and state: Riverside, CA                                                      Hon. Kenly Kiya Kato, U.S. Magistrate Judge
                                                                                                    Printed name and title

AUSA: Byron Tuyay (951-276-6230)
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                               AFFIDAVIT
I, Ubaldo Perez, being duly sworn, declare and state as follows:

                           PURPOSE OF AFFIDAVIT
                This affidavit is made in support of a criminal

     complaint against Kevin GIL-CARRANZA (“GIL-CARRANZA”) and

     Pedro ROJAS-SANCHEZ (“ROJAS-SANCHEZ”) (collectively with

     GIL-CARRANZA, “defendants”) for a violation of 21 U.S.C. §

     846: Conspiracy to Possess Methamphetamine with Intent to

     Distribute, in violation of 21 U.S.C. §§ 841(a)(1),

     (b)(1)(A)(viii).

                This affidavit is also made in support of an

     application for a warrant to search four cellular phones,

     which were recovered during the arrests of GIL-CARRANZA and

     ROJAS-SANCHEZ, as described more fully in Attachment A, and

     currently maintained in custody of the United States Border

     Patrol in Murrieta, California:

                a.    Samsung Galaxy J7 Crown; Serial Number:

     R58K911WL5P (“SUBJECT DEVICE 1”);

                b.    Samsung Galaxy A10E; Serial Number:

     RF8N307PK5N (“SUBJECT DEVICE 2”);

                c.    Samsung Galaxy A10E; Serial Number:

     RZ8N2213KSJ (“SUBJECT DEVICE 3”); and

                d.    LG Phoenix 4; Serial Number: 910VTVR685157

     (“SUBJECT DEVICE 4”)(collectively as, “SUBJECT DEVICES 1-

     4”).

                The requested search warrant seeks authorization

     to seize evidence, fruits, or instrumentalities of
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    violations of 21 U.S.C. § 841(a)(1) (Possession with Intent

    to Distribute Methamphetamine), 21 U.S.C. § 846 (Conspiracy

    to Distribute Methamphetamine and Possess Methamphetamine

    with Intent to Distribute), 21 U.S.C. § 843(b) (Unlawful

    Use of a Communication Facility to Commit or Facilitate

    Felony Drug Offense), and 18 U.S.C. § 758 (High Speed

    Flight from an Immigration Checkpoint), as described more

    fully in Attachment B.      Attachments A and B are

    incorporated herein by reference.

                 The facts set forth in this affidavit are based

    upon my personal observations, my training and experience,

    and information obtained from various law enforcement

    personnel and witnesses.       This affidavit is intended to

    show merely that there is sufficient probable cause for the

    requested complaint and search warrant, and does not

    purport to set forth all of my knowledge of or

    investigation into this matter.        Unless specifically

    indicated otherwise, all conversations and statements

    described in this affidavit are related in substance and in

    part only.

                          BACKGROUND OF AFFIANT
                 I am a United States Border Patrol (“USBP”) Agent

    with the United States Department of Homeland Security,

    Customs and Border Protection (“CBP”).         I have been

    employed by CBP since July 17, 2008. I am a graduate of the

    Federal Law Enforcement Training Center in Artesia, New

    Mexico, where I received training in violations of laws



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     relating to immigration and controlled substances as well

     as the preparation and execution of search and arrest

     warrants.   I am currently assigned to the San Diego Sector

     Intelligence Unit (“SIU”), as a Border Patrol Agent-

     Intelligence.    During the course of my employment with CBP

     and with SIU, I have participated in the investigation and

     prosecution of alien smuggling and narcotic smuggling

     cases.

          During my employment with CBP I have participated in

the surveillance of suspected narcotic traffickers, alien

smugglers, and other general crimes.       Also, I have spoken with

other experienced investigators concerning methods and practices

of alien smugglers.

                         SUMMARY OF PROBABLE CAUSE
                 Around 11:15 p.m. on April 1, 2020, defendants

     arrived at an operational CBP checkpoint near Temecula,

     California.    Once defendants exhibited some suspicious

     behavior, the USBP agent directed defendants to pull over

     into secondary inspection.      Defendants, however, drove off.

     CBP agents, in a marked CBP vehicle, tried to pull the

     defendants over and when the driver, GIL-CARRANZA, failed

     to yield, agents engaged in a high-speed chase of

     defendants, reaching speeds as high as 130 miles per an

     hour on Interstate 15.     After spike strips failed to stop

     defendants, agents successfully executed a “pit maneuver”

     to stop defendants.




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                Inside the car, agents found approximately 10.45

    kilograms of methamphetamine in a trash bag, which was on

    the back seat floorboard, scales, and approximately 90

    grams of black tar heroin in the glove compartment.            Agents

    also recovered SUBJECT DEVICES 1-4.

                       STATEMENT OF PROBABLE CAUSE
                The following information was obtained through my

    conversations with other agents and reading their reports.

                On April 1, 2020, the USBP checkpoint was fully

    operational in a two lane configuration. The USBP

    checkpoint is located on the northbound lanes of Interstate

    15, in Temecula, California, which is located in Riverside

    County and within the Central District of California.

                At approximately 11:15 P.M. on April 1, 2020,

    Agent Beatriz Ortega Tracy (“Ortega Tracy”) was conducting

    primary inspections at the USBP checkpoint.          A white

    Chrysler 300 bearing Minnesota license plate number 355WGG

    approached Agent Ortega Tracy’s position in lane two.

    Agent Ortega Tracy motioned the car to stop and identified

    herself as a USBP Agent. Agent Ortega Tracy asked the car

    occupants, later identified as Kevin GIL-CARRANZA (driver)

    and Pedro ROJAS-SANCHEZ (passenger), where they were going.

    Both GIL-CARRANZA and ROJAS-SANCHEZ were initially hesitant

    to answer but after a few seconds GIL-CARRANZA responded in

    a low voice, “Colorado.”       Agent Ortega Tracy sensed that

    the driver and passenger were nervous.         Agent Ortega Tracy

    directed the driver into the secondary inspection area, but



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    the car drove past the entrance to the area.          Agent Ortega

    Tracy motioned with her hands and verbally directed the car

    to the secondary inspection area.        The car, however,

    accelerated past the secondary inspection area.           The car

    continued on Interstate 15 and rapidly accelerated away

    from the USBP checkpoint in an attempt to avoid further

    inspection.

                 At this time, Agent William Tracy heard Agent

    Ortega Tracy call out “runner from the point.”          Agent

    William Tracy was in a marked Border Patrol vehicle and in

    USBP uniform.     Agent William Tracy chased the car and

    caught up to it near the State Route 79/Temecula Parkway

    exit, which is located approximately 2 miles north of the

    checkpoint.     Agent William Tracy positioned his marked

    Border Patrol vehicle behind the car and activated his

    lights and sirens.      At this time the car was driving

    approximately 100 miles per hour.        The posted speed limit

    on Interstate 15 is 70 miles per hour.         The car continued

    to drive at a high rate of speed, upwards of 120 miles per

    hour.    The car failed to yield to the agent’s emergency

    equipment for approximately 18 miles.

                 At approximately 11:25 P.M., Agent Zachary Reid

    took over the pursuit and Agent Keith Miller took over

    secondary pursuit responsibilities.         At approximately 11:26

    P.M., Agent Reid attempted to perform a “Boxing-In”

    technique.    Specifically, Agent Reid placed his marked

    Border Patrol vehicle in front of the suspect’s car and



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    slowed down, but the car was able to evade Agent Reid and

    drove around him.      Agent Reid attempted this technique

    several times.     During one of these attempts the suspect’s

    car rammed into the back of Agent Reid’s car, which caused

    Agent Reid to temporarily lose control of his car and move

    into another traffic lane.       At approximately 11:27 P.M.,

    Agent Miller conducted a “PIT” maneuver on the suspect’s

    car approximately 1 mile south of the Main Street exit on

    Interstate 15 in Riverside County, which ended the pursuit.

    A PIT maneuver is a technique in which the law enforcement

    vehicle nudges the rear of the suspect vehicle in order to

    cause the suspect vehicle to destabilize and end the

    pursuit.

                Agent William Tracy extracted the driver of the

    car, later identified as GIL-CARRANZA, and placed him under

    arrest.    Agent J. Slaten placed the passenger, later

    identified as ROJAS-SANCHEZ, under arrest.          Both defendants

    were arrested for violation of 18 U.S.C. § 758 (High Speed

    Flight from Immigration Checkpoint).

                Agent Yamul Ramirez arrived at the vehicle stop

    with his canine partner BAS (ID#150279) and conducted an

    exterior sniff of the suspect’s Chrysler 300.          The exterior

    sniff yielded an alert to the rear passenger compartment.

    BAS and Agent Ramirez are a trained and certified team in

    the detection of concealed humans, the odors of marijuana,

    methamphetamine, cocaine, heroin, and ecstasy.




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                Agent Ramirez advised Agent Juan Gonzalez that

    his canine partner alerted to the car.         Agent Gonzalez

    conducted a hand search of the vehicle and found two black

    trash bags on the rear passenger floor.         Agent Gonzalez

    opened both bags and found two large bundles of a

    crystalline substance wrapped in food saver bags,

    consistent with the appearance of methamphetamine and three

    cellular phones (SUBJECT DEVICE 1, SUBJECT DEVICE 2, and

    SUBJECT DEVICE 3,) inside the front passenger side of the

    vehicle.    Agent Gonzales took custody of the two bundles of

    suspected methamphetamine and the three cellular phones.

    Agent Gonzalez and transported them to the Newton Azrak

    USBP Station for processing.

                At the Newton Azrak USBP Station, Agent Gonzalez

    conducted an inventory of the Chrysler 300 and found a

    fourth cellular phone (SUBJECT DEVICE 4) and a small

    plastic bag of what appeared to be black tar heroin located

    inside the glove box compartment.        Agent Gonzalez took

    custody of the cellular phone and the suspected heroin for

    further processing.

                At the Newton Azrak USBP Station, Agents J.

    Gonzalez and P. Castillo tested the two bundles inside the

    black trash bags utilizing a TruNarc handheld analyzer.

    Both bundles tested positive for the characteristic of

    methamphetamine and had a combined gross weight of

    approximately 10.45 kilograms.         The substance found inside

    the glove box was tested utilizing a NARK II field test



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     kit.   The substance tested positive for the characteristics

     of heroin and weighed approximately 96.62 grams.

                  On April 2, 2020, at approximately 3:46 A.M,

     Agent Gonzales and Agent Castillo read Pedro ROJAS-SANCHEZ

     his Miranda rights from DHS form I-214.        ROJAS-SANCHEZ
     stated that he moved from Denver, Colorado to San Diego,

     California.    ROJAS-SANCHEZ stated that he purchased the

     Chrysler 300 from an individual in San Diego for $3,900 a

     couple of hours before he was encountered at the

     checkpoint.

                  A DHS records check confirmed that ROJAS-SANCHEZ

     had five prior encounters with immigration and was removed

     from the United States in September 2017.

                TRAINING AND EXPERIENCE ON DRUG OFFENSES
                  Based on my training and experience and

     familiarity with investigations into drug trafficking

     conducted by other law enforcement agents, I know the

     following:

            Drug trafficking is a business that involves numerous

co-conspirators, from lower-level dealers to higher-level

suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.         Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.




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           Drug traffickers regularly use couriers and cars to

import controlled substances into the United States.           These

couriers sometimes work in teams, with one courier driving the

vehicle and a second courier who communicates with the stash

house operator to deliver the narcotics.

           Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where drug traffickers have ready access to them, such as on

their cell phones and other digital devices, and in their

residences.

           Communications between people buying and selling drugs

take place by telephone calls and messages, such as e-mail, text

messages, and social media messaging applications, sent to and

from cell phones and other digital devices.         This includes

sending photos or videos of the drugs between the seller and the

buyer, the negotiation of price, and discussion of whether or

not participants will bring weapons to a deal.          In addition, it

is common for people engaged in drug trafficking to have photos

and videos on their cell phones of drugs they or others working

with them possess, as they frequently send these photos to each

other and others to boast about the drugs or facilitate drug

sales.

           Drug traffickers often keep the names, addresses, and

telephone numbers of their drug trafficking associates on their

digital devices and in their residence.        Drug traffickers often



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keep records of meetings with associates, customers, and

suppliers on their digital devices and in their residence,

including in the form of calendar entries and location data.

            Drug traffickers often maintain on hand large amounts

of United States currency in order to maintain and finance their

ongoing drug trafficking businesses, which operate on a cash

basis.   Such currency is often stored in their residences and

vehicles.

            Drug traffickers often keep drugs in places where they

have ready access and control, such as at their residence or in

safes.   They also often keep other items related to their drug

trafficking activities at their residence, such as digital

scales, packaging materials, and proceeds of drug trafficking.

These items are often small enough to be easily hidden and thus

may be kept at a drug trafficker’s residence even if the drug

trafficker lives with others who may be unaware of his criminal

activity.

            It is common for drug traffickers to own multiple

phones of varying sophistication and cost as a method to

diversify communications between various customers and

suppliers.    These phones range from sophisticated smart phones

using digital communications applications such as Blackberry

Messenger, WhatsApp, and the like, to cheap, simple, and often

prepaid flip phones, known colloquially as “drop phones,” for

actual voice communications.




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                TRAINING AND EXPERIENCE ON DIGITAL DEVICES 1
                  Based on my training, experience, and information

      from those involved in the forensic examination of digital

      devices, I know that the following electronic evidence,

      inter alia, is often retrievable from digital devices:

           a.     Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.     Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,


      1As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:




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            Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

            Digital devices capable of storing multiple gigabytes

are now commonplace.     As an example of the amount of data this

equates to, one gigabyte can store close to 19,000 average file

size (300kb) Word documents, or 614 photos with an average size

of 1.5MB.

            The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            Users may enable a biometric unlock function on some

digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a



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device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           In some circumstances, a biometric unlock function

will not unlock a device even if enabled, such as when a device

has been restarted or inactive, has not been unlocked for a

certain period of time (often 48 hours or less), or after a

certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           Thus, the warrant I am applying for would permit law

enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress GIL-CARRANZA or ROJAS-SANCHEZ’s thumb-

and/or fingers on the device(s); and (2) hold the device(s) in

front of GIL-CARRANZA or ROJAS-SANCHEZ’s face with his eyes open

to activate the facial-, iris-, and/or retina-recognition

feature.

                 Other than what has been described herein, to my

      knowledge, the United States has not attempted to obtain

      this data by other means.

///




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                                   CONCLUSION
For all of the reasons described above, there is probable cause

to believe that Kevin GIL-CARRANZA and Pedro ROJAS-SANCHEZ have

committed a violation of 21 U.S.C. § 846: Conspiracy to Possess

with Intent to Distribute a Controlled Substance, in violation

of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii).         I also believe that

there is probable cause to believe that evidence of violations

of the Subject Offenses, as described above and in Attachment B

of this affidavit, will be found in a search of the SUBJECT

DEVICES, as further described above and in Attachment A of this

affidavit.




                                         Ubaldo Perez, Border Patrol
                                         Agent-Intelligence
                                         United States Border Patrol

Subscribed to and sworn before me
this ____ day of April, 2020.



UNITED STATES MAGISTRATE JUDGE




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                               ATTACHMENT A
PROPERTY TO BE SEARCHED

      The following digital devices, that is, the four cellular

phones, seized on the evening of April 1, 2020 and early morning

hours of April 2, 2020, currently maintained in custody of the

United States Border Patrol in Murrieta, California:

            Samsung Galaxy J7 Crown; Serial Number: R58K911WL5P;

                 Samsung Galaxy A10E; Serial Number: RF8N307PK5N;

                 Samsung Galaxy A10E; Serial Number: RZ8N2213KSJ;

      and

                 LG Phoenix 4; Serial Number: 910VTVR685157.




                                        i
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                               ATTACHMENT B

I.    ITEMS TO BE SEIZED
      1.   The items to be seized are evidence of violations of

21 U.S.C. § 841(a)(1) (Possession with Intent to Distribute

Methamphetamine), 21 U.S.C. § 846 (Conspiracy to Distribute

Methamphetamine and Possess Methamphetamine with Intent to

Distribute), and 18 U.S. Code 758 (High Speed Flight from an

Immigration Checkpoint) (the “Subject Offenses”), namely:

            a.   Records of text messages, Short Message Service

(“SMS”), Multi-Media Messaging Service (“MMS”), and any other

text or messages sent or received through web-based messaging

applications, such as WhatsApp, FaceBook Messenger, Signal,

GroupMe, KIK, etc., sent or received from the SUBJECT DEVICE

concerning controlled substances and/or money, assets or payment

between February 2, 2020 to present.

            b.   Records of email communications sent or received

from the SUBJECT DEVICE concerning controlled substances and/or

money, assets or payment between February 2, 2020 to the

present.

            c.   Records of Global Positioning System (“GPS”)

coordinates and other information or records identifying

location information of the SUBJECT DEVICE or files on the

SUBJECT DEVICE to include information containing travel routes,

destinations, origination points, and other locations, between

February 2, 2020 to present.

            d.   Photographs or videos of individuals, documents

and other records, places, and things concerning controlled



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substances and/or money, payments, assets, or other forms of

financial information.

            e.   Address book and other contact information,

including stored and saved names, addresses, telephone numbers,

email addresses, I.P addresses, and websites associated with

controlled substances, money, assets and/or transfers of funds.

            f.   Call log information, including all telephone

numbers dialed from the SUBJECT DEVICES, as well as all

received/incoming or missed calls, from February 2, 2020 to

present.

            g.   Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

            h.   With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                  i.   evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                  ii. evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;



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                  iii. evidence of the attachment of other devices;

                  iv. evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                  v.   evidence of the times the device was used;

                  vi. passwords, encryption keys, and other access

devices that may be necessary to access the device;

                  vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                  viii.      records of or information about

Internet Protocol addresses used by the device;

                  ix. records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

           As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.

II.   SEARCH PROCEDURE FOR DIGITAL DEVICES
           In searching digital devices (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:



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           Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.         The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           The search team will conduct the search only by using

search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

           The search team may subject all of the data contained

in each digital device capable of containing any of the items to

be seized to the search protocols to determine whether the

device and any data thereon falls within the list of items to be

seized.   The search team may also search for and attempt to

recover deleted, “hidden,” or encrypted data to determine,

pursuant to the search protocols, whether the data falls within

the list of items to be seized.

           The search team may use tools to exclude normal

operating system files and standard third-party software that do

not need to be searched.




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           The search team may use forensic examination and

searching tools, such as “EnCase” and “FTK” (Forensic Tool Kit),

which tools may use hashing and other sophisticated techniques.

           If the search team, while searching a digital device,

encounters immediately apparent contraband or other evidence of

a crime outside the scope of the items to be seized, the team

shall immediately discontinue its search of that device pending

further order of the Court and shall make and retain notes

detailing how the contraband or other evidence of a crime was

encountered, including how it was immediately apparent

contraband or evidence of a crime.

           If the search determines that a digital device does

not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           If the search determines that a digital device does

contain data falling within the list of items to be seized, the

government may make and retain copies of such data, and may

access such data at any time.

           If the search determines that a digital device is (1)

itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.




                                        v
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           The government may also retain a digital device if the

government, prior to the end of the search period, obtains an

order from the Court authorizing retention of the device (or

while an application for such an order is pending), including in

circumstances where the government has not been able to fully

search a device because the device or files contained therein

is/are encrypted.

           After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           i.    Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

           ii.   Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           iii. Any magnetic, electronic, or optical storage

device capable of storing digital data;

           iv.   Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;




                                       vi
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           v.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           vi.   Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           vii. Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

           During the execution of this search warrant, law

enforcement is permitted to: (1) depress GIL-CARRANZA or ROJAS-

SANCHEZ’s thumb- and/or fingers onto the fingerprint sensor of

the digital device (only when the device has such a sensor), and

direct which specific finger(s) and/or thumb(s) shall be

depressed; and (2) hold the device in front of GIL-CARRANZA or

ROJAS-SANCHEZ’s face with his or her eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain

access to the contents of any such device.         In depressing a



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person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




                                      viii
